                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION


IN RE:

         ANGELA K. PHILLIPS,                                   Case No. 14-21741
                                                               Chapter 7 Proceeding
            Debtor.                                            Hon. Daniel S. Opperman
_____________________________________/


      OPINION REGARDING DEBTOR’S MOTION TO CONVERT TO CHAPTER 13

         The Debtor, Angela Phillips, filed a motion to convert this Chapter 7 proceeding to a Chapter

13 proceeding. Collene Corcoran, the duly appointed Trustee to administer the Debtor’s Chapter

7 proceeding, filed a response and objects to the Debtor’s request for relief. The Court conducted

an evidentiary hearing on January 29, 2015, which was continued to February 20, 2015, and post-

hearing briefs were filed by both the Debtor and the Trustee. For the foregoing reasons, the Court

conditionally grants the Debtor’s motion to convert.

                                         Procedural History

         On July 30, 2014, the Debtor filed a Chapter 7 petition. On Schedule A, Debtor listed real

estate located at 410 W. 12 Mile Road, Royal Oak, Michigan, (“Property”) as having a value of

$65,000.00, which the fair market value of the Property being based on the “purchase price and

recent comparables in the area.” Debtor claimed an exemption pursuant to 11 U.S.C. § 522(d)(1)

in the Property on Schedule C in the amount of $3,433.00, which represents the difference between

the asserted $65,000 value and the lien on the property in the amount of $61,567.00. Debtor placed

a notation under the Property on both Schedules A and C, which states:

         Debtor’s [sic] holds title by virtue of quit claim deed from ex-husband. This was
         their former marital home. After her divorce, the debtor lost her job and was forced
         to relocate to Midland MI. The home is now being rented out with rental payments
         covering mortgage loan, taxes and insurance expense.


                                                  1
  14-21741-dob        Doc 57     Filed 06/26/15       Entered 06/26/15 11:45:14       Page 1 of 8
       Ms. Corcoran conducted a first meeting of creditors on September 3, 2014, which was

continued to September 17, 2014. The Debtor appeared at the first meeting of creditors.

       Thereafter, a series of amendments by Debtor to her Schedules concerning the Property

ensued. On September 23, 2014, Debtor amended Schedule C to “properly exempt real estate,”

changing the exemption taken in the Property from Section 522(d)(1) to Section 522(d)(5).

       The Trustee filed a Notice of Assets and Notice to Creditors on October 10, 2014. Debtor

amended Schedules A and C on October 12, 2014, to change the exemption taken in the property

back to Section 522(d)(1), and keeping the amount of the exemption the same, at $3,433.00. The

Trustee filed an Objection to Debtor’s exemptions one day later, on October 13, 2014. In her

objection, the Trustee asserts that Debtor was not living at the Property when she filed this

bankruptcy case and, thus, is not entitled to claim an exemption under Section 522(d)(1).

       On November 6, 2014, Debtor amended Schedule A to change the current value of the

Property from $65,000.00 to $83,000.00, indicating such value was the “FMV based on Comparative

Market Analysis,” and amended Schedule C to “adjust exemptions,” changing the value of her

claimed exemption in the Property under Section 522(d)(1) from $3,433.00 to $21,433. On

December 5, 2014, Debtor again amended Schedule C, making changes unrelated to the Property.

       In the middle of all of this, on October 20, 2014, the Trustee filed a Complaint to deny

Debtor’s discharge pursuant to 11 U.S.C. § 727(a)(2)(A) and (B) and (a)(4)(D), which is pending

as Adversary Proceeding 14-2113. Three days later, on October 23, 2014, the Debtor filed the

instant motion to convert to Chapter 13.

       At the January 29, 2015, hearing, the Debtor testified, detailing that she did live at the

Property, pre-petition and then moved out during the course of her divorce because she could not

afford to make the mortgage payments on her own. She was out of work and between jobs for quite

some time and lived with her parents in Midland, which is why this case was filed in this Court and


                                                2
  14-21741-dob       Doc 57    Filed 06/26/15       Entered 06/26/15 11:45:14      Page 2 of 8
not in the Detroit division. Debtor testified that she now is employed and lives in the Property. She

rented out the Property from January 2014, to July 2014, and then extended the lease a couple of

more months because the tenants could not find a place to move to relatively quickly.

       At the continued evidentiary hearing on February 20, 2015, Debtor completed her testimony,

detailing that she thinks she can make the payment of $340 per month and would also have some

excess funds from certain variable costs such as utilities, food, and clothing. The Debtor pays $693

to the mortgage company, which includes taxes and an insurance escrow. As to how the $1,200

monthly rent payments were spent during the time when the house was rented, the Debtor paid

approximately $925 per month to the mortgage company in order to cure the arrears, which left

approximately $275 to cover repairs and the like. Debtor testified that she expects to get a two

percent pay increase starting in April 2015 and may have additional monies available with

subsequent pay increases. Moreover, although her 2014 tax refund of $2,500 will be applied to the

approximate $3,200 left owed for 2013 taxes, Debtor testified that she should have a tax refund of

about $2,500 per year that could be used to further fund the plan.

       The Trustee’s witness, Randall Roy, testified at the January 29, 2015, hearing. Mr. Roy is

a realtor who was hired by the Trustee to view the Property and determine a sales price range. Mr.

Roy testified that he believed the Property could sell for between $125,000 and $135,000.

       Debtor’s witness, Sarah Ebaugh, testified at the February 20, 2015, hearing. Ms. Ebaugh is

a realtor who works in the Royal Oak office of Real Estate One. Ms. Ebaugh testified that she

prepared a comparative market analysis, which suggests the Property has a value of $83,000.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate). All issues before the Court arise from Title 11 of the


                                                 3
  14-21741-dob       Doc 57     Filed 06/26/15       Entered 06/26/15 11:45:14       Page 3 of 8
United States Code are therefore within this Court’s jurisdiction. Wellness Int’l Network, Ltd. v.

Sharif, No. 13-395, 2013 WL 2456619 (U.S. May 26, 2015).

                                          Law and Analysis

        The right of a Debtor to convert from Chapter 7 to Chapter 13 may be forfeited if conversion

is in bad faith. Marrama v. Citizens Bank of Mass., 549 U.S. 365 (2007). Prior to Marrama, circuits

split as to whether conversion to Chapter 13 from Chapter 7 was automatic or subject to a showing

of a lack of good faith. In the Sixth Circuit, conversion to Chapter 13 was subject to a showing of

lack of good faith. Copper v. Copper (In re Copper), 426 F.3d 810, 814-15 (6th Cir. 2005). The

Sixth Circuit has likewise instructed this Court to review a number of factors to determine “bad

faith” under 11 U.S.C. § 1307, citing its prior decision in Alt v. United States. Id at 815. (In re Alt),

305 F.3d 413, 419 (6th Cir. 2002). The Alt factors are:

        (1) the debtor’s income:
        (2) the debtor’s living expenses;
        (3) the debtor’s attorney’s fees;
        (4) the expected duration of the Chapter 13 plan;
        (5) the sincerity with which the debtor has petitioned for relief under Chapter 13;
        (6) the debtor’s potential for future earning;
        (7) any special circumstances, such as unusually high medical expenses;
        (8) the frequency with which the debtor has sought relief before in bankruptcy;
        (9) the circumstances under which the debt was incurred;
        (10) the amount of payment offered by debtor as indicative of the debtor’s sincerity
        to repay the debt;
        (11) the burden which administration would place on the trustee;
        (12) the statutorily-mandated policy that bankruptcy provisions be construed
        liberally in favor of the debtor.

Id at 419.

        Alt also directs this Court to place the burden of proof upon the party seeking dismissal to

demonstrate lack of good faith. Id. at 420. In this case, the parties likewise agree that it is the

burden of Trustee Corcoran to show that the Debtor lacks good faith.

        As directed by Alt, this inquiry is necessarily a fact intensive endeavor. Id. at 419. The

Court has reviewed and considered the Debtor’s Schedules and Statement of Financial Affairs, as

                                                   4
  14-21741-dob        Doc 57     Filed 06/26/15        Entered 06/26/15 11:45:14        Page 4 of 8
well as the testimony of both Debtor’s and the Trustee’s witnesses, who both testified as to the value

of the Property. The Court has also had the opportunity to review and consider the testimony of the

Debtor and to observe her demeanor and mannerisms while testifying.

       The Court begins with the testimony of Mr. Roy and Ms. Ebaugh concerning the value of

the Property. The value of the Property is important, because such will dictate the amount of non-

exempt equity that exists, which in turn must be paid by Debtor through a potential Chapter 13 plan

in order to satisfy the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4). The Court found

the testimony of both Mr. Roy and Ms. Ebaugh to be credible. Both offered testimony as to

comparable properties, and while neither is a certified appraiser, both have substantial experience

as licensed realtors. Both had sufficient information and knowledge concerning the Property to offer

reasonable opinions as to its value. Thus, because the Court finds neither realtor’s testimony should

be given more weight, it will split the difference between the two opinions of $130,000 and $83,000

as to value, and place a value of $106,500 for the Property.

       With this value of $106,500, a hypothetical liquidation analysis can be made:

       Sales price:            $106,500

       Sales costs (10%):      $10,650

               Net Sales Proceeds:             $95,850

               Less Mortgage:                  ($58,335)

               Less current exemption:         ($21,433)

                       Total non-exempt equity in Property==>          $16,082

       Debtor and the Trustee agree that additional non-exempt equity exists in: (1) the $2,400 in

post-petition rents received; and (2) $4,000 for anticipated 2014 tax refunds (using Debtor’s higher

number). Thus, total non-exempt equity exists in the amount of $22,482, less hypothetical Chapter

7 administrative costs of 10%, or $2,248.20, which would mean the total amount available to pay


                                                  5
  14-21741-dob        Doc 57     Filed 06/26/15       Entered 06/26/15 11:45:14       Page 5 of 8
creditors in a hypothetical Chapter 7 case is $20,233.80.

        Debtor testified that she proposes to pay $340 per month for 60 months into a Chapter 13

plan for a total paid of $20,400. Adding to that the anticipated approximate $20,000.00 in tax

refunds (estimated to be $4,000 per year for 5 years), but deducting statutory Chapter 13 trustee fees

of 4 percent, or $1,616, as well as the agreed to amount of attorney fees in a Chapter 13 of $3,500,

the total amount available for unsecured creditors in a Chapter 13 would be calculated as follows:

        Plan payments:                  $20,400

        Tax refunds:                    $20,000

                Less Trustee fees:      ($1,616)

                Less attorney fees:     ($3,500)

                        Total available for unsecured creditors in a Chapter 13==>$35,284

        To summarize, if Debtor were to remain in a Chapter 7 and the Property were liquidated, the

amount available to unsecured creditors would approximately be $20,233.80. In contrast, Debtor’s

hypothetical Chapter 13 plan, if confirmed would yield $35,284 to unsecured creditors over the

course of 5 years.

        The Court now reviews the Alt factors to determine if the Debtor exhibits the necessary

elements of bad faith to warrant denial of her motion. The Debtor proposes to fund the Chapter 13

plan from her income. Debtor testified that her income and expenses have stabilized sufficiently to

allow her to confidently propose a Chapter 13 plan with $340 monthly payments. She also testified

as to her expectation to receive a two percent salary increase in April 2015, with possible subsequent

pay increases. Debtor also testified as to the possibility for further adjustments to her budget to offer

a viable Chapter 13 plan.

        Applying the Alt factors to the instant case, the income from Debtor’s employment appears

stable. The Debtor’s living expenses appear modest, and the attorney fees for the Debtor do not


                                                   6
  14-21741-dob         Doc 57    Filed 06/26/15        Entered 06/26/15 11:45:14        Page 6 of 8
appear to be at issue in this case and in a future Chapter 13 case, given that both Debtor and the

Trustee recognize the proposed $3,500 attorney fee number as reasonable. Other elements weighing

in favor of the Debtor include: her sincerity in petitioning for relief under Chapter 13; the potential

for future earning and pay increases; the infrequency in which the Debtor has filed bankruptcy; and

the circumstances in which the debt was incurred, which debt appears to be normal debt incurred

as a result of mainly unsecured open credit over the course of years, with a small amount owing to

the Internal Revenue Service for income taxes, assessments and penalties. Additionally, the offer

of payment to creditors, using the Court’s calculation, would be reasonable and more favorable than

the proposed distribution to unsecured creditors if this case were to remain a Chapter 7. Finally,

the light burden that would be placed on a Chapter 13 Trustee in administering what appears would

be a straightforward Chapter 13 plan, also weighs in favor of the Debtor.

       A factor against the Debtor is the expected duration of the Chapter 13 plan. Debtor wishes

to stretch payments over the course of five years to her creditors. In a Chapter 13 case, creditors

would have to wait for a payment over five years when there is the possibility of more readily

available cash to pay these creditors if the Property can be sold relatively quickly. While this factor

certainly weighs against the Debtor, the existence of one negative factor does not compel this Court

to deny the Debtor’s motion. This is especially true considering that this determination is to be

construed liberally in favor of Debtor and keeping in mind that this issue can again be examined at

confirmation, where the analysis of this factor is better addressed in this case.




                                                  7

  14-21741-dob       Doc 57      Filed 06/26/15       Entered 06/26/15 11:45:14        Page 7 of 8
       Although the Court concludes that the Debtor’s motion should be granted because lack of

good faith has not been shown, the Court conditions the granting of this relief upon the acceptance

by the Debtor of Chapter 7 administrative expenses which include, but are not necessarily limited

to, attorney fees for the Chapter 7 Trustee, as well as the Chapter 7 Trustee’s fees. The Court directs

counsel for the Trustee and the Trustee to submit an application for fees and expenses within 21 days

of this Opinion so that the Debtor may know the exact amount of these administrative costs. After

these fees and costs have been determined, the Debtor may then decide if she wishes to continue her

motion to convert or remain in Chapter 7.

       The Court will enter an Order consistent with this Opinion.
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Signed on June 26, 2015
                                                           /s/ Daniel S. Opperman
                                                         Daniel S. Opperman
                                                         United States Bankruptcy Judge




                                                  8

  14-21741-dob       Doc 57      Filed 06/26/15        Entered 06/26/15 11:45:14      Page 8 of 8
